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                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                                :
IN RE SUBOXONE (BUPRENORPHINE                   :    MDL NO. 2445
HYDROCHLORIDE AND NALOXONE)                     :    13-MD-2445
ANTITRUST LITIGATION                            :
                                                :
THIS DOCUMENT RELATES TO:,                      :
                                                :
Wisconsin, et al. v. Indivior Inc. et al.       :
Case No. 16-cv-5073                             :
__________________________________________ :
STATE OF WISCONSIN                              :
By Attorney General Brad D. Schimel, et al.     :
                                                :    CIV. A. NO. 16-5073
                                 Plaintiffs,    :
                v.                              :
                                                :
INDIVIOR INC. f/k/a RECKITT BENCKISER           :
PHARMACEUTICALS, INC., et al.                   :
                                                :
                                 Defendants.    :
__________________________________________ :

                                            ORDER

       AND NOW, this 22nd day of August, 2022, upon consideration of Defendant Indivior Inc.’s

Motion for Summary Judgment on All Claims (MDL No. 13-2445, Doc. Nos. 699 and 706; Civ. A.

No. 16-5073, Doc. No. 450), Defendant Indivior Inc.’s Motion for Summary Judgment Pertaining to

Specific Plaintiffs and Remedies (MDL No. 13-2445, Doc. Nos. 699 and 706), the Direct Purchaser

and End Payor Plaintiffs’ Response (MDL No. 13-2445, Doc. Nos. 731, 732, and 734), the Plaintiff

States’ Response (Civ. A. No. 16-5073, Doc. Nos. 464, 465), and Indivior’s Reply (MDL No. 13-2445,

Doc. No. 740; Civ. A. No. 16-5073, Doc. No. 469), and following oral argument, it is hereby

ORDERED that both Motions are DENIED.

                                     BY THE COURT:

                                     /s/ Mitchell S. Goldberg
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                                     MITCHELL S. GOLDBERG,    J.
